Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 1 of 10 PageID# 4950
  Case l:18-cr-00457-AJT Document 329 Filed 07/17/19 Page 1 of 10 PagelD# 3881




                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                      Alexandria Division


  UNITED STATES OF AMERICA,

                                                     Criminal Case No. l:18-CR-457(AJT)

  BIJAN RAFIEKIAN




  KAMIL EKIM ALPTEKIN,

  Defendants.


         DEFENDANT BIJAN RAFIEKIAN'S AMENDED TRIAL EXHIBIT LIST




                Date     Document


            07/29/2016   Email from B. Kian to M. Flynn, re: Ekim Alptekin

            09/01/2016   Email from J. Courtovich to B. Kian, cc'd to G. Miller, G. Lowman,and
                         J. Kelly, re: PARA (attachment Kelner white paper Have We Reached a
                         FARA "TippingPoint?")

            09/01/2016   Email from B. Kian to R. Kelner, cc'd C. Pilgram, re: Scheduling a call

            09/03/2016   Email from B. Kian to M. Flynn, re: confidence

            09/03/2016   Email from B. Kian to M. Flynn, re: CONFIDENCE

            09/14/2016   Declassified Memo re September 14, 2016 Meeting with Michael Flynn ^/'iS'Vip (.T j22j
            09/16/2016   Email from B. Kian to R. Kelley, re: LDA form

            09/16/2016   Email from B. Kelley to B. Kian, re: LDA Steps

            09/18/2016   Email from B. Kian to E. Alptekin, re: Talking points

            09/21/2016   Email from C. Pilgram to B. Kelley, re: Friday 1030 Sept ??

            09/23/2016   Email from C. Pilgram to T. Newberry, E. Jensen Yokoi, B. Kian, A.
                         Udvig, & M. Boston, re: RE: FIG Research Support Agreement
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 2 of 10 PageID# 4951
  Case l:18-cr-00457-AJT Document 329 Filed 07/17/19 Page 2 of 10 PagelD# 3882




              Date        Document


           09/23/2016     Email from B. Kian to T. Newberry, E. Socolosky, A. Udvig, M. Flynn,
                          M. Boston, & B. McCauley, re: Re: FIG Research Support Agreement

           09/26/2016     Email from G. Miller to B. Keiiey, B. Kian, cc'd M. Boston, re:
                          Connecting

           09/28/2016     Declassified Memo re September 28,2016 Meeting with Bijan Kian            ^ SAlp
           09/30/2016     FIG Lobbying Registration LD-1 Disclosure Form

           09/30/2016     Email from R. Kelley to B. Kian, re: Farwell

            10/1 1/2016   Email from M. Boston to J. Graham, R. Kelley, cc'd B. Kian, re: Info on
                          Client LDA reporting

            10/12/2016    Email from R. Kelley to M. Boston cc'd B. Kian, re: re

            10/14/2016    Email from Elliott Investigative Services to Brian McCauley, re: Quick
                          Call


            10/19/2016    Email from C. Walling to G. Miller, re: Monopoly (attachment Mula
                          Mullah Board)

            10/19/2016    Email from J. Courtovich to G. Miller, re: Board Game

            10/21/2016    Email from B. Kian to M. Boston, re: Updates (attachments Texas One
                          Page, Gulen Briefing Sheet, Gulenopoly, Charter Schools and IRS, Mula
                          Mullah Board)

            10/31/2016    Email from C. Walling to G. Miller, re: Gulenopoly (attachment
                          Gulenopoly)

            10/31/2016    Email from M. Boston to B. McCauley, G. Miller, E. Jensen Yokoi, B.
                          Kian, T. Newberry,& C. Pilgram, re: Project meeting Wednesday at
                          noon our office suite (attachments FIG Presentation and Gulenopoly)

            11/05/2016    Statement of the Problem - Facts Bearing on the Problem ofthe Gulen
                          Ecosystem

            11/05/2016    Email from B. Kian to M. Flynn and M. Boston, re: Working papers for
                          your review

            11/06/2016    Email from M. Ledeen to M. Flynn, re: Please Review draft OPED on
                          Turkey

            11/09/2016    SGR LLC LDA Form
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 3 of 10 PageID# 4952
  Case l:18-cr-00457-AJT Document 329 Filed 07/17/19 Page 3 of 10 PagelD# 3883




     xam      Date       DOCUMENT

            11/12/2016   Email from B. Kian to M.Flynn Jr, cc'd M.Flynn re is this a problem??
     29.

            11/14/2016   Email from B. Kian to E. Alptekin, re: Corrected invoice
     30.

            11/18/2016   Email from B. Kian to J. Courtovich, cc'd G. Miller, re: ...the media
     31.                 storm


           11/18/2016    Email from J. Courtovich to B. Kian and G. Miller, re: General Flynn
     32.                 Clips

           11/18/2016    Email from B. Kian to J. Courtovich
    33.

           11/18/2016    Email from T. Spencer to W.Burck, B. Kian, and R. Kelley, re:
                         Statement of Inovo (attachments: 18_NOV_2016- Copy & Untitled
    34.
                         attachment)

           11/18/2016    Email from W.Burck to T. Spencer, cc'd to B. Kian, and R. Kelley, re:
    35.                  Statement of Inovo


            11/22/2016   Email from B. Kian to G. Miller
    36.

           12/14/2016    Email from J. Courtovich to E. Alptekin, re: Follow-up
    ^37.
           12/22/2016    Email from B. Kian to B. Kian and zulutym@gmail.com, re: No Subject
    38.

           12/26/2016    Email from E. Alptekin to B. Kian, re: Article of General Flynn
    39.

           12/27/2016    Email from G. Miller to J. Courtovich, re: Time sensitive- FIG close out
                         memo (attachment Engagement Summary and Notification ofLDA
    40.
                         Termination)

           01/09/2017    Letter from R. Kelner to M.Flynn, re engagement to represent Flynn
    41.                  Intel Group

           01/09/2017    Letter from R. Kelner to M.Flynn, re: engagement for FARA advice
    42.

           01/09/2017    Email from J. Courtovich to B. Kian, re: Turkey FARA Breakdown
    43.

           01/22/2017    Email from J. Courtovich to E. Alptekin and cc'd to G. Miller, re:
    44.                  DRAFT Plan for Turkey (attachment Turkey Proposal)

           01/23/2017    Email from J. Courtovich to B. Kian, cc'd G. Miller, re: Just a heads up
    45.

           01/23/2017    Email from E. Alptekin to J. Courtovich, cc'd to G. Miller, re: Draft Plan
    46.                  for Turkey
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 4 of 10 PageID# 4953
  Case l:18-cr-00457-AJT Document 329 Filed 07/17/19 Page 4 of 10 PagelD# 3884




     D£X      Date       DOCUMENT


           01/24/2017    Email from J. Courtovich to B. Kian, cc'd to G. Miller, re: TR
     47.

           01/24/2017    Email from J. Courtovich to E. Alptekin
     48.

           01/24/2017    Email from M.Nolan to E. Alptekin & S. Akyuz, re: FW:Inovo and
     49.                 PARA


           01/25/2017    Email from 0. Miller to E. Alptekin and cc'd to J. Courtovich, re:
     50.                 Proposal (attachment Turkey Proposal)

           01/25/2017    Email from J. Courtovich to ttuncer@mfa.gov.tr and cc'd to G. Miller,
                         re: Public Affairs Proposal (attachment Turkey Proposal)

           01/25/2017    Email from J. Courtovich to E. Alptekin, re: Skype call w/ Ekim
     52.                 Alptekin

           01/31/2017    Email C. Amindaray to G. Miller, re: Turkey Pitch Notes(attachment
     53.                 Turkey Pitch Notes)

           01/31/2017    Email from J. Courtovich to B. Kian, re: Meeting w/ Turkish DCM

           02/01/2017    Email from G. Miller to C. Amundaray and S. Looney, re: Turkey
     55.                 (attachment Turkey Proposal)

           02/06/2017    Email from J. Courtovich to G. Miller, re: Budget Proposal
     56.

           02/06/2017    Email from E. Alptekin to G. Miller, cc'd J. Courtovich, re: Re: Budget
     57.                 proposal

           02/07/2017    Email from J. Courtovich to B. Kian, cc'd to G. Miller
     58.

           02/15/2017    Email from G. Miller to J. Courtovich, re: Timeline
     59.

           03/07/2017    Complete FIG FARA Filing
   v.^0.                                                                                           V'JG (7(ltp)
           03/09/2017    Email from J. Courtovich to E. Alptekin, cc'd B. Kian, re: Press
     61.

           06/14/2017    Video-FY 2018 State Department Budget Request, Opening

                         Remarks Before the House Committee on Foreign Affairs, 115th Cong.
     62.
                         (2017)(statement of Rex W. Tillerson, Secretary of state, on Muslim
                         Brotherhood)

            10/27/2017   Declaration of R. Kelley
     63.

           06/13/2018    Letter from Robert Kelner & Stephen Anthony to James Gillis
     64.
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 5 of 10 PageID# 4954
  Case l:18-cr-00457-AJT Document 329 Filed 07/17/19 Page 5 of 10 Page!D# 3885




     mm       Date       DOCUMENT

            01/18/2019   FIG Certificate of Dissolution
     65.

            07/12/2019   Document Received from Government at July 12,2019 Hearing
     66.

            07/13/2019   Fahrettin Altun AP Tweet
     67.

                         RESERVED
     68.

            08/28/2015   August 28, 2015 Contract between Amsterdam & Partners LLP and
                         Turkey                                                              v/JG»
                         Amsterdam & Partners LLP,Exhibit A (Fara Reg. no. 6325)
  ./lO.     10/26/2015


   /        10/26/2015   Amsterdam & Partners LLP, Robert R. Amsterdam Short Form (Fara
     71,                 Reg. no. 6325)

            05/31/2016   Amsterdam & Partners LLP,Supplemental Statement(Fara Reg. no.
                         6325)

            05/31/2016   Amsterdam & Partners LLP, Andrew Durkovic Short-Form (Fara Reg.
   y                     no. 6325)

            06/08/2016   Video- Robert Amsterdam Address to DHS Secretary Johnson over
     74.                 Fethullah Giilen


            08/19/2016   Video - After The Coup: Interview with lawyer Robert Amsterdam on
     75.                 Gulen's extradition


            11/30/2016   Amsterdam & Partners LLP, Supplemental Statment(Fara Reg. no.
   v/6.                  6325)

              2017       Empire of Deceit
  ./ll.
              2017       Empire of Deceit(Book)
     77A.
            06/01/2017   Amsterdam & Partners LLP,Supplemental Statment(Fara Reg. no.
                         6325)                                                               v/jGtCK)
            09/15/2017   Amsterdam & Partners LLP,Informational Materials- Billboard
     79.                 disclosure (Fara Reg. no. 6325)

            09/22/2017   Amsterdam & Partners LLP,Informational Materials-NYT
     80.                 Advertisement(Fara Reg. no. 6325)

             1/30/2018   Amsterdam & Partners LLP,Supplemental Statement(Fara Reg. no.
                         6325)
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 6 of 10 PageID# 4955
  Case l:18-cr-00457-AJT Document 329 Filed 07/17/19 Page 6 of 10 PagelD# 3886




     DBX      Date       Document


           05/29/2019    Amsterdam & Partners LLP,Supplemental Statement(Fara Reg. no.
   v^2.                  6325)

                         Empire of Deceit Website Hompage
     83.

            12/31/2015   Report of the Attorney General to the Congress of the United States on
                         the Administration ofthe Foreign Agents Registration Act of 1938, as
     84.
                         amended,for the six months ending December 31, 2015

           06/30/2016    Report of the Attorney General to the Congress of the United States on
                         the Administration ofthe Foreign Agents Registration Act of 1938, as
     85.
                         amended,for the six months ending June 30,2016

            12/31/2016   Report of the Attorney General to the Congress of the United States on
                         the Administration ofthe Foreign Agents Registration Act of 1938, as
                         amended,for the six months ending December 31, 2016

           06/30/2017    Report of the Attorney General to the Congress of the United State on
                         the Administration of the Foreign Agents Registration Act of 1938, as
     87.
                         amended for the six months ending June 30, 2017

            12/31/2017   Report ofthe Attorney General to the Congress ofthe United State on
                         the Administration ofthe Foreign Agents Registration Act of 1938, as
     88.
                         amended for the six months ending December 31, 2017

                         Flynn Intel Group,Inc. - Bylaws
     89.

           09/04/2017    Email from R. Kelner to S. Anthony, B. Smith,& A. Langton, re: FW:
     90.                 Potential FARA Client


            05/04/2017   Covington & Burling LLP Invoice addressed to General Michael T.
     91.                 Flynn re: Regulatory Advice

            01/09/2017   Letter from R. Kelner to Gen. M.Flynn

            03/31/2017   Covington & Burling LLP Proforma addressed to General Michael T.
                         Flynn re: Regulatory Advice

            02/28/2017   Covington & Burling LLP Proforma addressed to General Michael T.
                         Flynn re: Regulatory Advice

            06/27/2019   Memo to J. Gillis and Prosecution Team in US v. Rafiekian from S.
                         Powell and M.Flynn Defense Team re: Unprivileged Material from
     95.
                         Covington & Burling Flynn File
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 7 of 10 PageID# 4956
  Case l:18-cr-00457-AJT Document 329 Filed 07/17/19 Page 7 of 10 Page!D# 3887




     BEX        DATE       Document

              07/11/2019   Flynn Intel Group,Inc-Registration Statement Pursuant to the Foreign
     95A.
                           Agents Registration Act of 1938, as amended                               yRV(7)it«)
              03/07/2017   Email from B. Smith to R. Kelner, K. Verderame, cc'd A. Langton, re:
     96.                   RE: Open Items

              06/07/1979   Turkey: Extradition and Mutual Assistance in Criminal Matters
   v^97.
                                                                                                     x/JoCM
                           Rules of Professional Conduct: Rule 1.7—Conflict of Interest: General
                           Rule


              03/31/2017   Covington & Burling LLP Invoice addressed to General Michael T.
                           Flynn re: Regulatory Advice                                                    (7(iu)
              02/24/2017   Letter from R. Kelner to General Flynn re: Regulatory Advice, Acct. No.
   v^OO.                   039305.0001                                                               ^RIc(7|iu)
              11/30/2017   Executed & Accepted Michael T. Flynn Plea Agreement from Robert
     101,                  Mueller to Robert Kelner & Stephen Anthony

              04/26/2017   Email from A. Langton to zulutym@maisol.net, M.Flynn, K.
  ^^102.                   Verderame, cc'd R. Kelner, S. Anthony,& B. Smith, re: Request

              07/30/2016   Email from B. Kian to E. Alptekin & M.Flynn, re: Truth
  ^'102A.
              07/30/2016   Email from M.Flynn to M.Flynn, re: Truth
   ^/f02B.                                                                                              (Tm
              08/04/2016   Email from B. Kian to E. Alptekin & M.Flynn, re: Re: Truth
    '102C.
                                                                                                     x/Rk njiif)
              08/08/2016   Email from E. Alptekin to M. Flynn & B. Kian, re: Re: Truth
  ^^02D.
              08/08/2016   Email from B. Kian to E. Alptekin & M.Flynn, re: Re: Truth
     102E.                                                                                           y RKftjlle)
                           Email from E. Alptekin to M.Flynn & B. Kian, re: Re: Truth
    ^102F.    08/04/2016
                                                                                                     v/RkCllW)
    /<102G.   08/10/2016   Email from E. Alptekin to M.Flynn & B. Kian, re: Re: Truth
                                                                                                     >/ yy
    /402H.
              08/25/2016   Email from B. Kian to E. Alptekin & M.Flynn, re: Action Update
                                                                                                     /Ry (7 Ivb)
    /f021.
              09/03/2016   Email from B. Kian to E. Alptekin & M.Flynn, re: CONFIDENCE                       lie)
              09/12/2016   Email from B. Kian to M.Flynn & M.Flynn, re: Advisory Agreement
  J 102J.                  (General Scope)for Ekim Alptekin

              10/07/2016   Email from B. Kian to E. Alptekin, re: Invoice
  J 102K.
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 8 of 10 PageID# 4957
  Case l:18-cr-00457-AJT Document 338 Filed 07/19/19 Page 8 of 10 PagelD# 4460




               Date       Document


             10/11/2016   Email from B. Kian to M. Flynn, re: Wire Transfer to INOVO BV

             10/14/2016   Email from B. Kian to M. Flynn, re: Fwd: Inovo
     102M.

             11/08/2016   Email from G. Miller to B. Kian & M. Boston, re: Article placement

             11/08/2016   Email from 0. Miller to B. Rehkopf, cc'd C. Jordan, re: Re: Gen. Flynn
                          op-ed

             10/11/2016   Email from T. Neer to B. McCauley, re; Fwd: Links

             05/23/2016   Fox News- Gen. Flynn: Why the silence about the deadly terror threat
                          in our own hemisphere? by Michael Flynn

             07/09/2016   NY Post- The military fired me for calling our enemies radical jihadis,
                          by Michael Flynn

             11/07/2016   The Hill - Our ally Turkey is in crisis and needs our support, by Michael
                          Flynn

             10/06/2016   Fox News- Gen. Mike Flynn: Why Hillary's record on Libya is even
                          worse than you think, by Michael Flynn

             08/03/2016   Fox News- Gen. Mike Flynn, Rep. Allen West, Dr. David Grantham:
                          Yes, we can defeat terrorism, by Michael Flynn, Allen West,& Dr.
                          David Grantham


             04/18/2016   Fox News- Lt. Gen. Michael Flynn: America has forgotten how to win
                          at war, by Michael Flynn

             11/02/2016   Fox News- Gen. Michael Flynn: After Mosul is liberated, ISIS could
                          attach US next, by Michael Flynn

             10/28/2018   Fox News — Gens. Flynn, Kellogg: The truth about what's happening in
                          Mosul (hint: Trump's right)

             09/01/2016   Email from B. Kian to J. Courtovich, cc'd G. Miller, G. Lowman,&
                          John Kelly, re: Re: FARA

                          Decree No. 32 on the Protection of the Value ofFurkish Currency

             1/21/2016    Mondaq - Turkey: Restrictions and Notification Requirements Amended
                          for Currency Transfers Across Turkish Borders

                          Photo of Michael T. Flynn
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 9 of 10 PageID# 4958
  Case l:18-cr-00457-AJT Document 338 Filed 07/19/19 Page 9 of 10 Page!D# 4461




  Dated: July 19,2019

                                          Respectfully submitted,

                                          /s/
                                          Mark J. MacDougall {Pro Hoc Vice)
                                          Stacey H. Mitchell (Pro Hac Vice)
                                          Counselfor Bijan Rafiekian
                                          Akin Gump Strauss Hauer & Feld LLP
                                          1333 New Hampshire Avenue, NW
                                          Washington, DC 20036
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                                          Fax: (202)887-4288
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                                          /si
                                          Robert P. Trout(VA Bar # 13642)
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                                          Suite 1130
                                          Washington, DC 20006
                                          Telephone: (202)464-3311
                                          Fax; (202)463-3319
                                          E-mail: rtrout@troutcahceris.com
Case 1:18-cr-00457-AJT Document 354-4 Filed 07/23/19 Page 10 of 10 PageID# 4959
  Case l:18-cr-00457-AJT Document 338 Filed 07/19/19 Page 10 of 10 PagelD# 4462



                                 CERTIFICATE OF SERVICE

         I hereby certify that, on the 19th day of July 2019, true and genuine copies of Defendant

  Bijan Raflekian's Second Amended Trial Exhibit List were sent via electronic mail by the

  Court's CM/ECF system to the following:

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         John T. Gibbs
         Evan N. Turgeon
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         2100 Jamieson Avenue
         Alexandria, VA 22314
         Telephone: (703)299-3700
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                                                             A/
                                                             Robert P. Trout(VA Bar # 13642)




                                                 10
